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2:23-Ccv-10647-JJCG-PTM ECF No. 1, PagelD.1 Filed 03/21/23 Page 1of 8

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Case:2:23-cv-10647

VS , Judge: Cox, Sean F.

MJ: Morris, Patricia T.
Filed: 03-21-2023 At 12:00 PM
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Plaintiff mailing Address

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3500 North Elm Koad
Jackson Michigan

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Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.3 Filed 03/21/23 Page 3 of 84

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( Jane. [ Toho Doe !s \Gt the 8)

4) “JCF” Warden — Naaln Noy

5) “ICR” Deput Wafden- T Jarret?

6) Doctor Chacles Jansen

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.4 Filed 03/21/23 Page 4 of 84

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Lansing michigan
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Index of Exhibits

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2) medical Accomodation Order's
3) Wardens Forunn meeting Minutes , July AB | 2013
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MICHIGAN DEPARTMENT OF CORRECTIONS
PRISONIER/PAROLEE GRIEVANCE FORM

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[23 Page 24 of 84

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CSJ-247A

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RESPONSE (Grievant Interviewed? Lives [1No If No, give explanation. If resolved, explain resolution.)

Respondent's Signature

Date Reviewer's Signature

Respondent’s Name (Print)

Date
rey

Working Title Reviewer’s Name (Print)

Working Title’

Date Returned to
Grievant:

If resolved at Step I, Grievant sign here.

Resolution must be described above. Grievant's Signature

DISTRIBUTION: White, Green, Canary, Pink. — Process to Step One; Goldenrod — Grievant

Case ots ECF No. 1, PagelD.25 | 03/21/23 Page 25 of 84

Otep # | - extra Page.

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afte left In a vehicle wf thy wa ow's fol eal uf ona’ Hot" Scorching Day,

Thy Die evertually

~ | TN
Resoluhan / Provide QNevart a medtee | 5 pect Accomo Astral

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.26 Filed 03/21/23 Page 26 of 84

Mieh:gan Departmeat of Corrections
HIRST STEF CRIEVANCE RECEIPT

DATE:
fo: SEDORE 21066! LOCATION:
FROM: Grievacce C r0cdinatcr: Cobb
MUBIECT  Revetc: or Sep ECrigvar cz
Srivtacse contitier: JCE 2022 / OF / 1478 / 12D3

ssuz: My sicias verv.ce: --Jualily o. treatment

Received: 7212622

8/11/2022

Yours
ibov:. ify cs. Fave nct received a response by this date and no extension has been given, you may submit a written
“eques: “or 41 appeal form to this offize. You will need to note, on your request, the grievance identifier as listed above.

+

OT

7/21/2022

JCF

tp i wevane2 was received 43 indicatec above. You should receive a response no later than the due date listed

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Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.27 Filed 03/21/23 Page 27 of 84

MICHIGAN DEPARTMENT OF CSJ-2478 3/18/2019
CORRECTIONS

STEP I GRIEVANCE RESPONSE SUPPLEMENTAL FORM
(Use if space on the CSJ-247A is insufficient for a full response by stating on the CSJ-247A “See

Prisoner Lait Name;

Pode

JCF-22-07-1481-12D3

tae:

_— 2

IF "YES", Enter End Date

+ Ee Sr ar es

COMPRAR r ; See 5 Iva. RA ee Oe Ay
Grievant alleges neglect regarding grievants accommodations and living conditions. Inmate states no air conditioning and ventilation in

his cell/room put him in risk of respiratory failure or death. Mr. Sedore lists date of incident as 07/19/2022.

INVESTIGATION SUMMARY: 2h: 20 978.8 re EE STP Ey “Ga

the Electronic Medical Record (EMR) was utilized. Grievant was seen by Medical 07/19/2022 by a onsite Medical Provider. The visit
here was conducted by one of the MDOC’s Chief Medical Officers and was to review requests for accommodations. These
accommodations are not listed as part of the 02/03/2020 settlement agreement. Grievant was also seen by a secondary Medical
Provider for his Chronic Care visit on 08/03/22. This visit addressed pulmonary/COPD concerns as well as cardiovascular. Plan of care

shows medication changes (related to Cardiovascular/Respiratory systems), Lab orders, and a consult request. Vitals in both visits are
within defined limits of Hypertension and COPD comorbidities.

APPLICABLE POLICY;-PROCEDURE,ETC.: ~~~ ve Co pe be
PD 03.04.100 Health Services

DECISION SUMMARY: 5%. SU iGGdae ns ae

The MP is the most qualified staff member to determine the course of treatment and determined that the plan of care determined was

appropriate at that time. No evidence was found to support that allegations of neglect regarding accommodations and respiratory
failure have been made. this grievance is denied.

Ric RN 13

08/05/2022

Distribution: Original - Step I Grievarfce Coordina opres — 3 To Gri

PIM ECE Nom1- Pagbury 28! Fifeftp3/21/23 Page DA UH senville
UNI VER SITY Clinical Professor of Law

Civil Rights Clinic
COLLEGE OF LAW

Case _2:23-cv-10647-JJICG-

Steg #2 Appea
Exhibit’

une 15, 2021

Scott Sedore, #210661

G. Robert Cotton Correctional Facility (JCF)
3500 N. Elm Road

Jackson, MI 49201

Dear Mr. Sedore:

I have enclosed a complete copy of the settlement for your review and for you to
keep. I have enclosed a second copy of Page 8 of 8 so that you can sign that page
and return it to me. After all the other signatures are added, I will send you back a

copy.

[ have read the settlement and it meets what you agreed to. I know it is 8 pages for
you to agree to settle for $3,500.00, but that is just part of life.

If you have questions as to the settlement, let me know and | can arrange a call.

[ have enclosed a stamped, self-address envelope so you can return that signed Page
8.
-—Sineerely ;
N,
Legal Clin .
PO Box 1570
East Lansing, MI 48826
517-432-6880
Fax: 517-432-6990
www. law.msu.edu/clinics |

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% Fan-8"/3-Speed Heavy Duty Aic Mattress

MSU College of Law is an affirmat ive-
ation, equal opportunity institution.

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were Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.29 Filed 03/21/23 Page 29 of 84

ALD

MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4248 5/09
PRISONER/PAROLEE GRIEVANCE APPEAL FORM CSJ-247B
Date Received by Grievance Coordinator Grievance Identifier: IVC l2)210;1| | \ 4 7 | Z| | { a 13 |
at Step II:

INSTRUCTIONS: THIS FORM IS ONLY TO BE USED TO APPEAL A STEP I GRIEVANCE.

The white copy of the Prisoner/Parolee Grievance Form CSJ-247A (or the goldenrod copy if you have not been provided
with a Step I response in a timely manner) MUST be attached to the white copy of this form if you appeal it at both Step
II and Step IT.

If you should decide to appeal the Step I grievance response to Step II, your appeal should be directed to:
by 7 Aq- AA _. If it is not submitted by this date, it will be considered terminated.

If you should decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director’s
Office, P.O. Box 30003, Lansing, Michigan, 48909.

-£ Name (Print first, fast) Number Institution Lock Number sie of Incident Today’s Date

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STEP II _ Responsé Date Received by

Step II Respondent:

Date Returned to
Grievant:

Respondent's Name e (Print)

fej hereto Sehr tf #5 open aceorbia Sp Dore , Ut

step III — R ) (te
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NOTE: Only a copy Y of this appeal d

STEP III — Director’s Response is attached as a separate sheet. L S$, ct A \3

DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II; Goldenrod ~ Grievant

Case 2:23-cv-10647)JCG-PT ECF No. 1, PagelD.BO Filed 03/21/23 Page 30 of 84
Step 2- Extra “age

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Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.31 Filed 03/21/23 Page 31 of 84

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CARTES ANCE APPS AD RECELPT STEP HI
DATE: 8/17/2022

fO: S10} c& 21C561 LOCATION: JCF B-I
TROVE,  tevarce Coordinaicc: Cobb
SUR ORO KT pestis of th: Crier ar ce “ppeal “orm

ack cole gs coceic of sour S.2- II grievance appeal, identifier JCF / 2022 / 07 / 1478 / 12D3
Chic as le ead + thi, office cat 8/17/2022

less Qu 2 ther: ise cotifizc -ou shoulc be proyi tep II response within 15 business days of the
cate cuca te wa cece ved ocr iater than 9/7/2022)
‘ve. bave 4 rece. ade respors: by this date or are notified of an extension, vou may submit your step II

Lped ob eh rect sates.

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.32 Filed 03/21/23 Page 32 of 84

Vecbigan Dooariment of © orrections JCF-2022-07-1478-12D3

terie snes Step {1 Response SEDORE 210661

(lrevay cacns that fe :as been inappropriately denied a special accommodation
is Wr lr to purcha eg. at his owr expense, an 8-inch (or larger) fan OR to purchase
ule! possess 40 9-inced fens. Grievant asserts that he requires such accommodation to
ade Se Feat. sumid iv. ard lack of sufficient air movement that he experiences in his
we. f Mevae states tre: tke wack of proper ventilation/air circulation puts him “at severe
read oceserior failure oc: deata”

wee. Iieicemt:s istic as 7 19 2022.
‘vi. oof oe cleetrr < medical record confirms that grievant was evaluated by a
edi.c! provider on 7/14/2022. Reyarding grievant’s request for a medical accommoda-

Hoda: O\Ine hira to se r-nurchase an 8-inch fan, the provider noted that this accommo-
dado, Aas roi medicell. necessary. The provider added that medical (Health Care) does
eV file accommodations elated to self-purchased items. He advised grievant to
doocus: the toate wits his ARUS. Further record review reveals that grievant was seen
om ssiny Saiff and medical providers on numerous occasions throughout the summer.
>> Comumer_ation Of taes: 2ncounters. grievant was not observed to be in respiratory
dovire: during this aime

cine. iis c).im 13 not supsorted. Health Care provides medically necessary items when
‘hk. se tems are approved and ordered by Health Care for an individual prisoner's use.
e-evan aa. no curren: medical deail or special accommodation for a fan. Per the
Viedi vil sers ce Advisory Commitiee guidelines, fans are not provided by Health Care.
deal Czsre does ac’ issue details or accommodations for prisoners to self-purchase
‘tems Priscrers may purchase fans (size as authorized by custody) from an approved
“wads through tre procuremen: process. Health Care is not involved in that process.
vise. Health Care has no control over ventilation in the housing units.

grievant feels he 1s experiencing adverse symptoms re:
venthanon issues, he shou'd promptly notify Hea'th Care so that an evaluation may be
cond acted and necessév inte-ventions provided.

Criev aiee denied.

Pamicta Lamb, RN, BSN Patricia Lamb, RN, BSN September 8, 2022
Respondent Name Respondent Signature Date

moO Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.33 Filed 03/21/23 Page 33 of 84

MICHIGAN DEPARTMENT Cr CORRECTIONS
DISBURSEMENT AUTHORIZATION/CATALOG ORDER FORM

1

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Prisoners write clearly -illegible/incomplete forms will not be processed (Ore q/3/z O22
Prisoner Number: Prisoner’s Last Name: Institution: tock Number.

—210bbl Sedore _ See “cotter Cott, tacky B-l
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5 [Resress: Dicector’s of fice"~ Fo, Bay 30603 C
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Reason/Description: (If to relative, identity relationship) Stee ®3 Gelesance. Apecd.
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COMPLETE THIS PORTION FOR CATALOG ORDERS ONLY

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Page Description of Item Unit Catalog | Color = Size , Qty UnitPrice . Total Price |
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Scott Sedore #210!
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3500 Nofth Elin Read apo ——
(te an -492 o} Tax (if applicable) $ oT
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ou Selo 9/8/2022 .
Prigey s Signature q Ln Deputy Warden or Authorized Agent Date
- eS ?
Ce

Agent Date Warden or Authorized Agent

Code Actua! Expense Batch Number

Distribution: White-Business Office; Canary-Vendor; Pink-Property; Goldenrod-Prisoner

ro Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.34 Filed 03/21/23 Page 34 of 84

JPay Tell your fnends and family to visit www jpay com to write letters and send money!

ID#: 210661 Name: SEDORE,SCOTT HOUSING UNIT: BO1BOTL
INSTITUTION: JCF DATE: 9/10/2022 5:11:06 AM

Date Description Doc # Credit Debit
9/12/2022 LEGAL STAMPS $1.92
9/12/2022 LEGAL STAMPS $1.92
grerzoz2 «stamps # JCE/2207/14 73/1203 (step #3 Appra !) $0.81
9/2/2022 GTL $200.00

9/1/2022 REGULAR COPIES DISBURSEMENT $3.80
8/31/2022 LEGAL STAMPS $0.57
8/31/2022 LEGAL STAMPS $0.57
8/31/2022 LEGAL STAMPS $0.57
8/22/2022 REGULAR COPIES DISBURSEMENT $24.00
8/17/2022 TAX REFUND $1418.49
8/15/2022 REGULAR COPIES DISBURSEMENT $2.80
8/10/2022 LEGAL STAMPS $0.81
8/10/2022 LEGAL STAMPS $0.81
8/9/2022 MEDICAL RECORDS COPIES $1.00
8/2/2022 VENDOR REFUND $50.61

7/31/2022 GTL $200.00
7/21/2022 REGULAR COPIES DISBURSEMENT $1.70
7/18/2022, LAWSUIT RECEIPT-IET $1000.00
9/13/2022 ** Current Balance: $7,191.44

JPY Tet your friends and family to visit www jpay.com to write letters and send money!

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.35 Filed 03/21/23 Page 35 of 84

RA

STATE OF MICHIGAN
GRETCHEN WHITMER DEPARTMENT OF CORRECTION: HEIDI E. WASHINGTON
GOVERNOR LANSING DIRECTOR
STEP IT GRIEVANCE DECISION Rec#: = 138577
28e
To Prisoner: Sedore #: 210661
Current Facility: JCF
Grievance Identifier: | JCF-22-07-1478-28e
Step DI Received: 10/3/2022

Your Step II appeal has been reviewed and considered by the Grievance Section of the Office of
Legal Affairs in accordance with PD 03.02.130, "Prisoner/Parolee Grievances".

THE REJECTION IS UPHELD.

THIS DECISION CANNOT BE APPEALED WITHIN THE DEPARTMENT. JAN 12 2023

Richard D. Russell, Manager Grievance
Section, Office of Legal Affairs

CC: Warden, Current Facility:
Warden, Grieved Facility:

GRANDVIEW PLAZA + P.O.BOX 30003 > LANSING, MICHIGAN 48909

.t . Case 2:23-Cv-19§47-JJICG-PTM ECF No. 1, PagelD.36 Filed 03/21/23, Page 36 of 84
Sedore Vv. Greiner. No. 19-1031 | 2020 US, bist, LEXIS

JUILOC , 2020 Wh 883744/ at *q CEO, Mich. Sept 2/, 2020)

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of 84

#9"

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.37 Filed 03 WE Page

Michigan Department of Corrections

Medical Detail Special Accommodations
Off #: 0210661 Offender Name: SEDORE, SCOTT LEE

iit 4

_X_ No Work Exp. Date: 12/31/2031
___ Lay In Exp. Date:

Restriction Expiration Date
Elevator

Bottom Bunk

Electrical Outlet Required

Restriction Expiration Date

Attendant Assist with Meal or Other Movement
Lifting limited to 10 pounds
H-Hearing Impaired

Equipment Start Date End Date Return Date

Personal Glasses 11/47/2021
Glasses rec'd from MSI and distributed to prisoner 11/17/21
C-Pap 09/07/2021

DeVilbiss CPAP/Autoset sn HD216185.
Humidifier sn HH433155.

Swift FX nasal pillow system #61500.
Distilled water.

ACMO 09/02/2021

Ice Pack 12/18/2020
ICE pack TID. *indefinitely*

Air Mattress 02/18/2020

Mediation settlement agreement 2/3/2020 - indefinitely

New one Given on 8/24/2021

Wheelchair Cushion 02/18/2020
ROHO cushion - Mediation:settlement agreement 2/3/2020 indefinitely.

Urinal 02/18/2020
Mediation settlement agreement 2/3/2020.

Personal Adaptive Equipment 02/18/2020
Sock donner. Mediation settlement agreement 2/3/2020.

Prescription Shoes - MS! Special Order 01/10/2020 05/05/2022
patient reports he has not had prescription shoes provided by MSI

Cane - wood 01/10/2020

Bite Plate 01/10/2020
Dental Bite Plate

Shower Chair 01/10/2020

Extra Pillow 01/10/2020
2 extra pillows

Extra Blanket 01/10/2020
Blankets must be cotton

Incontinence Garment ‘01/10/2020

Prescription Shoes - Orthotic 01/10/2020

with ‘inch lift. ACMO approved indefinitely

MDOC - JCF Page 1 of2
Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.38 Filed 03/21/23 Page 38 of 84

Off #: 0210661 Offender Name: SEDORE, SCOTT LEE

Equipment Start Date End Date Return Date

ae 01/10/2020
Pt is allowed to purchase and keep a wheelchair of his choosing as long as it is consistent with MDOC specifications.

Mediation settlement agreement 2/3/2020.
Comments: May also have in possession Reacher (ACMO approved indefinitely).
Assigned helper/attendant will be his roommate if not housed in a single cell. Mediation settlement

agreement 2/3/2020.
- holder for ei “a approved 10-12-2020 indefinitely.
, 05/17/2022
‘ Date
Offender Name: SEDORE, SCOTT LEE Off #: 0210661 Lock: B:01:Bot:L

ALL EXPIRATION DATES ARE AT 24:00

MDOC - JCF Page 2 of2
Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.39 Filed 03/21/23 Page 39 of 84
G. ROBERT COTTON CORRECTIONAL FACILITY

“Committed to Protect, Dedicated to Success”

WARDEN’S FORUM MEETING

Sea

| Prisoner Representatives... 25. ot

A Unit Moses 768260 VJ Unit Billingsley 4

A Unit Caputo 221386 IJ Unit = Mosby 523973 e

B Unit Hill 341515 K Unit CLOSED

B Unit VACANT VACANT K Unit CLOSED

C Unit Heard 252329 TA Unit Porter 940999

C Unit Bowman 240982 TA Unit Olajos 189246

D Unit Smith 382629 TB Unit Moore 401434

D Unit McKaskle 501978 TB Unit Goins 237165 >

E Unit McGuff 247494 TC Unit Brown 216145 oc

E Unit Spangler 170604 TC Unit Melnik 761161 s
> F Unit Downtinel 144736 TD Unit McCaskill 508291 O
Oc F Unit Fawaz 570500 TD Unit Proctor 278458 —_
> G Unit Lundy 193051 TE Unit Jones 268606 =
aA G Unit VACANT VACANT TE Unit Mestauskas 353956 =>
— H Unit King 372154 TF Unit Rushton 306542 <<
—_ H Unit VACANT VACANT TF Unit Lane 403113 —
= .
<I Date: Monday July 23, 2018
awn ed
a Staff Attendance: A/Deputy Warden Kisor, A/Deputy Warden Howard, HUM
© Landfair, and Wardens Forum Coordinator McCumber-Hemry
L

New Business:

> On behalf of the JCF prison population, the Warden’s Forum would like to bring
vs forth the following issues:

1. PD05.02.110K states prisoners shall be paid one and a half times
his/her normal rate of pay for those days he/she is required to work
under conditions which are considered unusually difficult (ie: blood
borne pathogen cleanup). Why isn’t this provision being followed?
Per Classification Director Purdy prisoners are being paid their regular pay
plus .5 , so it is 1.5 of their pay ( ie they are paid .84 /.42 (.5 of their pay) =
$1.26) is being followed. PD 05.02.110 K also states the Warden or
designees shall determine what conditions shall warrant such pay. The
Provision is being followed. Effective August 1, 2018 PD05.02.110 has
extensive changes throughout and bloodborne pathogen cleanup is one of
the changes. Prisoners are encouraged to read the updated policy.

2. Could the Warden ensure first shift officers bring conflict callout
print-outs to the units?
Third shift picks them up and delivers them to the units. We will ensure
this is being done and follow up. If problems continue please {et us know.

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.40 Filed 03/21/23 Page 40 of 84

Warden Forum Agenda
July 23, 2018

The sanitarian comes yearly to test the air in each unit.

This will be addressed with all staff to keep these doors closed

as well as the windows on base. A/DW Howard will make rounds today
and prior to the end of the month on 3” shift to look and give instructions
to all Capt's, Lt's, Sgt’s, RUM's, ARUS's/PC’s.

OP03.04.100E 18/F states, “Takes other appropriate action based on
facility and housing unit capabilities, physical plant considerations and
security level. Examples of action tha e taken are: Placing large

floor fans in ain _ in general population and segregation units

evel | prisoners have ceiling fans as well as they can purchase personal
fans. Level II and Level !V have ventilation systems as well as prisoners
4 can buy personal fans. Further, in the Lower level of Level II the large fans
{

would impede traffic if there is a need to evacuate, so they are not allowed
per the fire inspector due to this.

No this is a security issue to have doors open to cells at any time
especially during formal count.

PON LAW LIBRARY

usiness:

er Maintenance, Ed Dell they are not replacing fans in the bathrooms.
Due to the ventilation systems in place in that area, fans are not
necessary. Per PD 04.07.110 Attachment C allows prisoners in level | and
Level II to have personal portable fans, state issued fans are no longer
required to be provided in Level II and I. Regarding replacement fans for
dayrooms, a work order needs to be submitted before we can {look at
replacing or repairing the fan. The large ceiling fans in the temp-side units
were added several years ago to assist with air flow as well, and most
pole barn style housing units within the state do not have these. All day
rooms and quiet rooms compound wide will get fans.

Could the Warden ensure that the store officer provide a written
response to the store committee’s agenda for the past year?
This will be discussed with the store committee.

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Warden Forum Agend SU EAIGIG Akt mip
july 23, 018 AMVWHYT TAA INGE:

3. Could the Warden ensure that the Food Service Director meet with
the committee members and provide responses to the agendas
submitted?

When agendas are submitted meetings are held.

Wardens/Staff Announcements:
1. The Level 1 weight pit has new vinyl throughout.

2. The Level 2 weight pit is halfway completed due to running out of vinyl.
New foam and vinyl is being purchased to complete the task.

3. The E/F Unit washing machine is due to arrive the 2" week of August.

Warden has approved the following movies:

July 2018
Star Wars: The Last Jedi
Black Panther

ReMemary Ad vag Aner

August 2018 ow
| Tonya
The 15:17 to Paris

Submitted By:

IC ( _. _ ahyfiB
K Lindsey, Warden Da
G. Robert Cotton Coyfectional Facility

“Warden Forum agetda Minutes and facility generated memes signed by the Warden or
designee shall be posted and reviewed by staff, These documents may reflect pertinent
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Co L.Rapelje Assistant Ceputy Director CFA Southem Region
Pau! Slagter Administrative Assistant to Asst Dep Director
Cindy L. Thaden CFA
Kaith Barber, Ombudsman Cifice
K. Lindsey. Warden
K. Napier, Administrative Assistant
T Kisor, A/Deputy Warden
B Johnsen A/Deputy Warden
C Blair, Facitity Manager
RUMs / ARUSs ‘PC (posted an unit butietin boards)

C. McCumber-Hemry Warden's Forum Coordinator
T Schubring Trinity Food Service Director

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Warden Forum Agenda
July 23, 2018

Department Heads

Warden's Forum Representatives
Library

Control Center

JCF LAN email

File

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-ROBERT COTTON CORRECTIONAL FACILITY
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S FORUM MEETING

Prisoner Re: reseutatives . .

A Unit Moses 768260 VJ Unit VACANT

A Unit Caputo 221386 VJ Unit Mosby

B Unit Hill 341515 K Unit CLOSED

B Unit Billingsley 402052 K Unit CLOSED

C Unit Heard 252329 TA Unit — Porter 940999
C Unit Bowman 240982 TA Unit Olajos 189246
D Unit Smith 382629 TB Unit Moore 401434
D Unit McKaskle 501978 TB Unit Goins 237165
E Unit McGuff 247494 TC Unit VACANT VACANT
E Unit Thompson 181739 TC Unit Melnik 761161
F Unit Downtinel 144736 TD Unit McCaskill 508291
F Unit Fawaz 570500 TD Unit Proctor 278458
G Unit Lundy 193051 TE Unit Jones 268606
G Unit VACANT VACANT TE Unit Vanhaven 976290
H Unit King 372154 TF Unit Rushton 306542
H Unit VACANT VACANT TF Unit Lane 403113

Date: Monday August 27, 2018

Staff_Attendance: A/Deputy Warden Johnsen, Facility Manager Blair, HUM
Landfair, RUM King, FSD Schubring, and Wardens Forum Coordinator
McCumber-Hemry

New Business:
On behalf of the JCF prison population, the Warden's Forum would like to bring

forth the following issues:

1. Why aren't the facility Classification Director, RUM’s and Assignment
Supervisors complying with JCF-OP05.01.100 Section Ill #8? When a
prisoner is terminated from his job, the assignment supervisor is not
submitting a CSJ-363 or CJS-363A to the Classification Director: nor
is the PC/ARUS/RUM holding the reclassification hearings or making
recommendations as required by OP.

The 363’s are completed anytime a prisoner is terminated from a position
and/or placed on ‘00’. A prisoner cannot be terminated/00 without a 363
even if there is a misconduct involved or a waiver signed. Regarding the
RUM/ARUS/PC they do not do “reclassification hearings” as there is no
such thing as this. When a prisoner is terminated/placed on “00” it is the
prisoners responsibility to request to be reclassified through their
ARUS/PC/RUM 2 weeks prior to end of the 30 days “00” status
ending. JCF-OP 05.01.100 is being followed regarding termination and

363's being completed. The ARUS/PC/RUM does the CSX-175 for ®

reclassification.

. Under what conditions would the Warden restore either good-time or
disciplinary credits under PD 03.01.100 Good Time and PD 03.01.1041
Disciplinary Credits (L-N)?

The Warden follows the direction and guidance given in both PD 03.01.100
Good Time Credits, Paragraph Y 1-2 and PD 03.01.101 Disciplinary
Credits, Paragraph BB (1-2), CC (1-8), DD, EE, FF, GG. Prisoners do not
have a right to have forfeited good time credits and/or forfeited disciplinary
credit restored but the Warden may consider the appropriate factors listed
in the policies when considering restoring forfeited good time and
disciplinary time.

. The population would like to know what is the schedule to have
bedding (blankets) exchanged/washed? As the Warden knows, there
was a recent bed-bug outbreak, and several units had to be
quarantined and visits canceled because of health issues.
PD03.03.130 Humane Treatment and Living Conditions for Prisoners
paragraphs B (1) (3), PD 04.03.102 Sanitation and Housekeeping
Standards.

A prisoner can kite the QM for bedding exchange. You will not necessarily
get NEW bedding in exchange, but it will be laundered and clean. When
bedrolls are issued, they are all laundered and clean. There is no guarantee
you will get new items.

There is a thermometer in each housing unit that provides the temperature
to staff working the housing units. Fans are available for prisoners to
purchase and have in their cells to also cool their area. We have also
addressed the ventilation system usage to staff and the doors being
propped open. Curtains will not be allowed.

. The population would like the Warden to investigate why visitor
applications are taking nearly a month to be processed?

The LEINS were checked and we had some that were two 1/2 weeks out.
Third shift has had some issues due to printer problems and being able to
print the LEINS out. We are working on getting a printer. As of today, we
are a week out. Visiting applications are being processed in a timely
manner.

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Warden Forum Agenda ACa
August 27, 2018

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Warden Forum Agenda
August 27, 2018

6. The population requests the Warden to investigate why housing unit
officers are refusing to allow receptacles to collect pop bottles? i.e.:
C unit.
All units have receptacles available in their respective housing units for the
pop bottles. C unit's has been put back in its proper place and staff have
been advised they need to ensure it remains there.

Old Business:

1. The facility is still not in compliance with PD 04.04.130 Prisoner
Movement within an Institution Paragraph D, H. Third shift is still not
bringing out conflict callouts to the units each night.

Third Shift Command has been spoken to about this, if it continues to be an
issue let us know. An email reminder has been sent as well. This has been
resolved.

2. October 23, 2017 #5, Early Chow Callouts for GED students, VPP,
BRIDGES, T4C, Law Library, Health Care and other Core Programming
callouts. This issue was “tabled until we get the new med-line window
done and start feeding Level 4’s in and see if that fixes the problem.” a
However, the problem has not been fixed. Could the Warden simply —
fix the problem by adding early-chow to the above said callouts?
We are not going to put everyone that is in GED, Law Library, Health Care,
and other Core programming on Early Chow unless it is deemed necessary.
This could feasibly create a bigger problem. We have identified those
prisoners/callouts that need early chow placed on their callouts and have
done so. Officers can call Control! Center for permission for those prisoners
who may require it for a callout to have them sent to early chow as there
are instances where this may be necessary. As we see the need to place
early chow on prisoner's callouts; we willdo so. The new ADW’s are looking
at the movement schedules and will adjust as needed.

3. In the December 2017 minutes, the Warden stated he was willing to

approve a prisoner Re-entry/Job Search seminar. However, the
Warden just denied both proposals submitted July 24, 2018. Why were
they denied?
Just because the proposals were denied does not mean the facility is not
working towards providing positive events to benefit the population in things
such as Job Search/Re-entry. We just had a successful Career/Job Fair that
had people from various agencies helping and guidance to the
population. We will continue to look at more positive events such as that
one. We also have a Re-entry Facility Coordinator/Facility Veteran Liaison
at this facility who also provides service for the population.

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Warden Forum Agenda
August 27, 2018

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4. July 2017 meeting minutes #5-What is the status of having the
permanent yard bathrooms fixed? It has been over a year.
This has been put on hold due to cost. There are issues with plumbing,
winterizing, roofing, etc. We are going to stay with the porta-johns until we
find another solution. The porta-johns are cleaned twice a week. There
was a week when we didn't have a driver to come in and clean. There have
not been any issues since that we are aware of.

They are not TV shelves, they are writing surfaces. Level 2 has desks as a
writing surface whereas Level 1 does not. Therefore Level 1 has the bottom
bunk shelf as their writing surface.

Wardens/Staff Announcements:
1, Late night power for Labor Day weekend has been approved.

2. The movie channel is being repaired. We have been troubleshooting for a =

few weeks now. Neither repairs that the vendor has completed have fixed af,
the problem. A subcontractor will be coming in to look at the issues. We se
are actively trying to get this repaired. We will show the movies that have =
been missed.

Warden has approved the following movies:

August 2018
| Tonya
The 15:17 to Paris

Submitted By: .“

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G. Robert Cotton Correctional Facility

“Warden Forum Agenda Minutes and facility generated memos signed by the Warden or designee
shall be posted ond reviewed by staff. These documents may reflect pertinent information that
directly affects the facilities current process or procedure. This information shail be considered a
directive from the Warden and staff shall implement change accordingly. All facility process o:

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Warden Forum Agenda
August 27, 2018

procedure changes will be reflected in the next revision of the document originally addressing the
issue. (IE JCF OP, facility rule}. ’

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Paul Slagter Administrative Ass:stant to Asst Dep Directur
Cindy L Thaden CFA
Kath Barber Ombudsman Office
K Lindsey Warden
K. Napier, Administrative Assistant
T Kisor A/Deputy Warden
B Johnsen A/Deputy Warden
C Blair Facility Manager
RUMs / ARUSs : PC (posted on unit bulletin boards}

C McCumber. Hamry Warden's Forum Coordinator
T. Schubang. Tnnity Food Service D rector
Department Heads

Warden's Forum Representatives

Library

Control Center

JCF LAN email

File 4

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G. ROBERT COTTON CORRECTIONAL FACILITY

“Committed to Protect, Dedicated to Success”

~ WARDEN’S FORUM MEETING
| Prisoner Representatives Okan SRA RE. he
A Unit Moses = 768260 = IJ Unit | VACANT
AUnit = Caputo 221386 ‘IJ Unit | Mosby
BUnit Hill 341515 K Unit =~CLOSED |
BUnit —_ Billingsley 402052 KUnit CLOSED |
CUnit Heard = 252329 = TAUnit Porter ~—: 940999
/C Unit ‘| Bowman 240982 TAUnit — Olajos - 189246
‘DUnit  . Smith 382629 _TBUnit Moore , 401434
~DUnit = McKaskle 501978 _TBUnit - Goins 237165
EUnit == Vann = 263113. «|| TC Unit. | VACANT | VACANT
EUnit =VACANT VACANT TC Unit ‘Meinik —|_-761161
F Unit Downtinel 144736 _TD Unit | McCaskill 508291
-FUnit — Fawaz 570500 = TDUnit | Proctor | 278458
G Unit —_ Lundy _193051 =  TEUnit . Jones 268606
G Unit VACANT VACANT TE Unit VACANT . VACANT
HUnit — Curtiss _192071 ' TF Unit ‘Rushton = 306542
H Unit VACANT VACANT TF Unit | Swan 977840

Date: Monday September 24, 2018

Staff Attendance: Warden Lindsey, A/Deputy Warden Johnsen, ADW Howard, 7
ADW Kisor, RN13 Lester, Physical Plant Superintendent E. Dell and Warden's —
Forum Coordinator McCumber-Hemry

New Business:
On behalf of the JCF prison population, the Warden's Forum would like to bring
forth the following issues:

1. PD03.04.100, Health Services, states in paragraph X, “Health care staff
shall schedule an annual health care screening appointment of each
prisoner in a CFA facility within 30 calendar days before or after the
prisoner's birthday, unless the prisoner is in SAI”. However, as of
date, JCF Health Care is not in compliance with said averment. Annual
health care screenings are back logged by two months. What step has
Warden Lindsey taken to ensure AHCS appointments are scheduled
according to policy?

Healthcare is working diligently to get AHS up to date and we have staff

coming from other facilities to assist in getting up to date.

2. Population is concerned about the treatment cancer patients are
receiving. Specifically, cancer patients complain the pain relief
medication is not working, therefore they are in constant pain. They
further complain the medication they need is not being provided, such
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as narco, even though the physician recommended that it be provided.
Population would like to know how do cancer patients go about
getting the right medications?

This has not been addressed at the committee level.

3. The population would like for the Warden to address and monitor
medical emergencies. PD03.04.125 states “Employees shall provide
appropriate and timely response to medical emergencies.....” Health
Care staff has told the population the reason they do not respond
promptly to emergencies is because they are understaffed.
Furthermore, nurses are walking at normal pace to emergencies. The
population would like for the Warden to monitor nurses’ reaction times
to medical emergencies and to take corrective action. PD 03.03.130
Humane Treatment and Living Conditions for Prisoners paragraph H.
According to PD 03.04.125 “Whenever a person in a CFA or an FOA facility
is determined to need emergency medical attention, INITIAL staff response
to that emergency shall begin immediately but no later than four minutes
after discovery. They also shall initiate emergency first aid as they are
qualified _to provide_as soon as possible, unless the victim is clearly
deceased.” Nursing staff is responding as soon as possible to emergency
requests in the facility. Staffing continues to increase as we continue to train
staff as they are hired. We are working on fixing the old mini ambulance

since we have been unable to order a new one. on

4. People who are either very sick, weak from medical treatments, or ht
serious injury to their leg (broken or sprained ankle, etc.) are told by a
medical staff, that no medical detail for a lay-in tray would be provided.
if that person cannot make it to the dining hall, he just won't eat.

PD03.03.130 Humane Living Conditions for Prisoners paragraph E. .

Prisoners that are housed in this facility are to perform their own ADL’s. This
includes getting back and forth to the dining hall. The medical staff provide
the medical equipment that is needed to transport prisoners throughout the

facility. We do not do medical tray lay ins.

5. There are two inter-related issues population would like for Warden
Lindsey to resolve. First, caustics/cleaning supply refills are being
called during meal times. If there is no one in the housing unit due to
being in the dining hall, then we go without cleaning supplies. Also,
if a full tray is not returned, the staff governing cleaning refills refuse
to refill those bottles that are brought back. Both acts are in violation
of PD04.03.102 Sanitation and Housekeeping Standards paragraph E,

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Warden Forum Agenda
September 24, 2018

because necessary cleaning materials and equipment are not being
issued by staff.

We will investigate the issue and work on scheduling around meal times.
This is part of the movement schedule the ADW's are working on. You need
to return all bottles to get new bottles issued for accountability reasons.

. The population would like for the Warden to resolve the dispute over
who is responsible for repairing and/or removing broken weight-pit
equipment and installing new equipment. Maintenance states it’s not
their job and they don’t want to be liable for weight pit equipment
installing and repairs. Moreover, no company wants to take a bid to
repair, replace, or install weight pit equipment. Meanwhile broken
equipment sits in Cotton weight pit and newly purchased equipment
sits idle.

We will be installing the weight equipment in the future.

. There is a problem with the mailroom and business office over-
charging postage fees for oversize mail. We have no way to challenge
mailroom weight and postage determinations. Is Warden Lindsey
willing to put a scale in each unit for PC/ARUS/RUM’s to determine the
weight of the mail and to provide a list of the different price options
the post office offers in oversize mail?

We are looking into the possibility of allowing scales and what type of scales
are available that would be approved to be used in the facility. ADW Kisor
has found a scale that will be ordered and tested in one unit for accuracy
and durability for 60 days. If that works, then more will be ordered.

. The population would like for Warden Lindsey to ensure wheelchairs
are in each housing unit, for medical emergencies.
This has not been addressed at the committee level.

. The mailroom or designee that monitor and determine which photos
are acceptable to receive via JPay are not adhering to the standards
set forth in PD05.03.118 Prisoner Mail paragraph NN. Could the
Warden ensure staff follow policy and provide a way for the population
to challenge photo rejections?

Without specific examples this issue cannot be addressed. The Warden will
look at specific examples.

10.PD05.03.115 Law Libraries paragraph | states “Library coverage
generally shall be provided only by the librarian or a library
assistant/library technician; however, another staff person shall
provide coverage when the librarian and his/her staff are temporarily
away from the library (¢.g.: staff meeting) or absent from the facility,

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Warden Forum Agenda
September 24, 2018

including if the positions are temporarily vacant. This is not being
followed and the library is then closed denying prisoner's access to
the library and to the courts.

The Law Library is staffed properly and is well within the hours required by
policy, which is the law library must be available for 25 hours per week, with
12 of those hours after 1700 hours or on weekends. Since we are above
the required hours, if the law library is closed for any reason we do not need
to have it covered by other staff in place of the Librarian or their staff.
Further, we do not have the staff available to cover the Library nor is it
needed. Prisoners are given opportunities to make up their Law Library if it
is cancelled so they are not being denied their access to the law Library.
ADW Kisor will investigate the rescheduling of cancelled callouts further.

Old Business:
1. There are frequent delays in the movie selection process. Can this

matter be resolved by having JCF-OP05.03.101 amended to reflect the
LTA committee Chairman (Mr. Fairley) to be the Warden's Designee as
the movie and selection committee chairman?

We will continue to follow the current policy directive PD 05.03.1041
(9/18/2006) and OP-JCF operating procedure (6/27/2013) Movie Selection
and Previewing. The movie committee chair will remain the same.

. There is a continuous problem with minutes from the Warden's Forum

and sub-committees not being posted in the housing units and library.
Could the Warden ensure the minutes are being posted?

Housing Staff and Library staff have been advised that they are to ensure
that the Warden's Forum Minutes are posted each month and have now
been provided additional access to the minutes, so they can ensure they
are being posted once finalized. Committees will be reminded to send
meeting minutes to the library as well. We will continue to monitor to ensure
this is being done.

E. Dell was present at the meeting. He explained that the ventilation system
is used for fire purposes, if the fire alarm is pulled it automatically comes on
to clear the unit of smoke. If being used to bring in air to circulate in the

units, then it will pull in the air from the outside at the temperature that it !s
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Warden Forum Agenda
September 24, 2018

conditioning. In the winter, the air is warmed over a coil and heats it to keep
the units warm.

. The population has raised the issue of the Store and PBF committees
not receiving written responses. There have been no written
responses to PBF and Store agendas since April 2018. Could the
Warden have the designated staff provide written responses to April,
May, June, July and August 2018 minutes? We also request account
statements, balance sheets, and ledgers which have not been
provided since October 31, 2017 to present.

The missing Store and PBF meeting minutes have been distributed as of
9/24/18. The October through March PBF financial statement were
distributed on 9/24/18. The March financial statement is the most recent
statement, which was received from the regional business office in
September.

. What is the status of the “early chow” details being placed on
callouts? The population continues to lose valuable programming
because of time out of class.

We will not be putting “early Chow” on the itinerary. instead we are
considering incorporating into the JCF movement plan allowing prisoners to
eat chow 30 minutes prior to the call out times.

Wardens/Staff Announcements:

1. The Forum asked about being proactive with flu season approaching
and having hand sanitizer stations at the officer's desk. Warden Lindsey
researched this and was told that no other facilities have these and due
to food codes, it is not suggested by the Regional Sanitarian. Frequent
handwashing with soap is always the best approach.

2. The Forum expressed concerns about spoiled milk and quality of milk.
Warden Lindsey will address with FSD Schubring.

Warden has approved the following movies:

September
Avengers: Infinity War
Breathe

Hurricane Heist

October
Insidious: Last Key
Truth or Dare

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Warden Forum Agenda
September 24, 2018

November

A Quiet Place
Pacific Rim: Uprising
Tomb Raider

December
Ready Player One

Submitted By:

Jc be

Ce:

K Lindsey, Warden
G. Robert Cotton Gérrectional Facility

L. Rapelje Assistan! Deputy Director, CFA Southem Region
Paul Slagter, Administrative Assistant to Asst. Dep. Director
Cindy L. Thaden, CFA

Kaith Barber, Ombudsman Office

K. Lindsey, Warden

K. Napier, Administrative Assistant

T. Kigor, Deputy Warden

B. Johnsen, A/Deputy Warden

C. Blak, Facility Manager

RUMs / ARUSs / PC (posted on unit bulletin boards)

C. McCumber-Henwy Warden's Forum Coordinator

T. Schuring, Trinity Food Service Director

Department Heads

Warden's Forum Representatives

Library

Control Center

JCF LAN email

File

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procedure changes will be reflected in the next revision of the document originally addressing the
issue. (IE JCF OP, facility rule).”

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“Conmitted to Protect, Dedicated to Success”

WARDEN’S FORUM MEETING

Prisoner Representatives a —
AUnit — Moses 768260 J Unit Tyler 758420
AUnit = King 760461 _ J Unit King 814508
BUnit Watson 148946 += KUnit_ + CLOSED
BUnit = Wagner 821351 K Unit CLOSED
C Unit Johnson 374140 TA Unit Curby 196969
C Unit Gee 196523 TA Unit Gavenda 759489
D Unit Stokes 600702 TB Unit Wilson 864210
DUnit Rose 924217 TB Unit View 891185
EUnit == Vann 263113 TC Unit Clements 486825
E Unit Jones 166505 TC Unit Stanley 289277
-F Unit = Carradine 179317 =TDUnit Anderson 827896
F Unit Boussum 168825 TD Unit Lano 492084
GUnit _—_ Sattler 833872 TE Unit Morgan 607180
GUnit Lundy 193051  TEUnit Phillips 303048
H Unit Curtis 192071 TF Unit Glover 975503
H Unit Spirdione 947841 TF Unit Brendel 687237

Date: Wednesday July 24, 2019

Staff Attendance: Warden Lindsey, DW Howard, ADW Kisor, FSD Coffelt, Facility
Manager Schubring, Warden's Forum Coordinator Hemry

New Business:
On behalf of the JCF prison population, the Warden's Forum would like to bring

forth the following issues:

1.

—>

No, we will not consider putting anything on the windows as it creates a
safety and security issue for the facility. Fans have been ordered and some
are already in place. Placement of them will be addressed in the rules and
with staff. J Units fans are also on order.

2. This Forum wants clarification on why Level 4 movement is being shut
down or postponed particularly store and yard due to isolated
incidents?

There are, at times, situations or incidents which require staff to prioritize
activities and delay or postpone some things. Obviously, urgent and
emergency events take precedence over the schedule for yard, and may,
Case Nag iey Reem AROS. PTM ECF No. 1, PagelD.55 Filed 03/21/23 Page 55 of 84
July 24, 2

in fact, occasionally, but rarely cause a delay in store. If there are specific
instances, give dates to Warden’s Forum Coordinator Hemry.

3. Prisoners are entitled to a receipt to all disbursements. Why does the
population not receive a receipt from the GTL phone disbursements
and why does it take so long for phone disbursements to be
processed?

All phone disbursements are entered within two business days of receipt by
the business office in accordance with policy. Mr. Schubring has been away
from the facility for training and audits, and Mr. Bolton has been working two
positions simultaneously, and was also away from the facility in the past
month. We are in the process of hiring a new account tech, so the forms
should be received on a more frequent basis soon.

Additional efforts (administrative rounds, email reminders to shift

7 commanders, and the ventilation memorandum was shared with staff) were
completed last week after this information was brought to the warden by the
forum.

Old Business:

1. This Forum is asking Warden Lindsey what clarification did he get in
response to him speaking with Lansing about the Visiting Room PD
language that states “prior to consumption”? If Warden Lindsey has
yet to receive clarification this Forum respectfully propose that
Warden Lindsey, consider allowing the PBF to purchase cellophane
wrap to sit at the officer's station to cover the food especially now in
the summertime where flies and ants are prevalent in the VR. This
issue has been lingering since April 2019.

We are not making any changes to this due to the language in the state-
wide visiting standards. The issue was already addressed within the forum
in May 2019.

2. This Forum respectfully asks Warden Lindsey to revisit the cleaning
schedule for the visiting room. The visiting room is not being cleaned
properly including the ceiling fans which also creates a health risk for
food being uncovered. Also, the toys are filthy can these items please
be cleaned in front of supervision to ensure proper cleaning?

Toy cleaning is now part of the daily duties of the front house porter(s). A
work order was submitted to have the ceiling fans inspected and cleaned, if
necessary. Ceiling tiles are on order to replace as well. The kid's couches
will be washed in the machine as well.

Case Wasden@en7Apenda-PTM ECF No. 1, PagelD.56 Filed 03/21/23 Page 56 of 84

July 24, 2019

3.

This Forum is asking Warden Lindsey why are some officers honoring
early chow and others not? This Forum is asking Warden Lindsey to
send a memo of some sort to ensure that all officers 1" and 2™ shift
honor especially when early chow is printed on a prisoner's pass.

| cannot explain why some are honoring the early chow and some are not.
It is noted that this is the third time this specific issue has been brought up,
so we will continue to address it with the shift commanders. Specific
incidents, with detailed information (i.e., time, place, staff involved) may be
forwarded, in writing, to Forum Coordinator Hemry.

Cotton side prisoners are still experiencing the yard being opened
later than what it supposed to. On 7/13/19 the yard was opened close
to nearly 1900, also on 7/15/19 the yard was opened at 1847 and when
inmates questioned CO Lamb he retorted “act like a prisoner and go
to yard”.

ADW Johnsen has been monitoring yard operations along with A/Captain
Anderson. Please keep in mind that we may have situations where we are
waiting for staff to return from other assignments or critical incidents to open
the yard.

Open Discussion:

>

1.

2.

The Block Rep issue in B unit has been resolved at this time.

The Forum asked about bathroom use during count. New unit rules are
coming out to address this issue.

There is a delay in mail. Facility Manager Schubring reported that currently
the mailroom is about a week behind due to vacations and training, the mail
should be caught up soon.

The Forum questioned food being thrown away when prisoners are packed
up for segregation. PD 04.04.112 Letter Y and JCF-OP 04.04.112
Attachment G provide more information on this. If you feel food items have
been thrown away in violation of these policies, you can file a State
Administrative Board Claim under PD 03.02.131 or seek reimbursement
through the Prisoner Benefit Fund per PD 04.02.110.

The Forum asked about the spoiled milk that was recently served in the

chow hall. FSD Coffelt reported that 108 crates of milk were thrown out that
were found to be spoiled BEFORE the expiration date. This was an issue

3
Case aastden-Agérh7Apeida-PTM ECF No. 1, PagelD.57 Filed 03/21/23 Page 57 of 84
July 24, 2019

with the vendor that has been addressed and FS corrected the milk issue
on the lines when it was notified of the problem by the population as well.

Warden has approved the following movies:

August
Glass
Escape

September

Mortal Engines

Fighting with my Family

Fantastic Beast: The Crime of Grindewald

October
Replicas
Green Book

Submitted /
ka os q

K Eindsey, Warden Dat
G. Robert Cotton Corfectional Facility

“Warden Forum Ag¢énda Minutes and facility generated memos signed by the Warden or designee
shall be posted and Téviewed by staff. These documents may reflect pertinent information that
directly affects the facilities current process or procedure. This information shall be considered o
directive from the Warden and staff shail implement change accordingly. Ail facility process or
procedure changes will be reflected in the next revision of the document originally addressing the
issue. (1€ JCF OP, facility rule}.”

Ce: L.Rapefje Assistant Deputy Director, CFA Southem Region
Paul Slagter, Administrative Assistant to Asst. Dep Director
Cindy L. Thaden, CFA
Keith Barber, Ombudsman Office
K. Lindsey, Warden
K. Napier, Administrative Assistant
J. Howard A/Deputy Warden
T. Kisor, Assistant Deputy Warden
6. Johnsan, A/Assistant Deputy Warden
T. Schubring, Facility Manager
RUMs / ARUSs / PC (posted on und budetin boards}

C. McCumber-Hemry Warden's Forum Coordinator
A. Coffelt. Food Service Director

Departmen! Heads

Warden's Forum Representatives

Library

Control Center

Case Manion Eve 7ARSOG-PTM ECF No. 1, PagelD.58 Filed 03/21/23 Page 58 of 84
July 24, 20]

JCF LAN emai
File
i 59 of 84
Case 2:23 ev 10°4RUBERT COTTON CORRECTIONAL. FACH ITY

“Committed to Protect, Dedicated to Success”

WARDEN’S FORUM MEETING

presentatives
VACANT VACANT | JUnit | TYLER 758420:
{BURTON | 322888 || JUnit | HUGHES =| 697047
| HILL 341515 | i KUnit | CLOSED =| CLOSED
COLEMAN 170248 _ _|.KUunit [Closed | closed
GEE __ 1196523 | | TAUnit | CURBY | 196969 _
VACANT _| VACANT. TAUnit | CARTIER, 453791 |
VACANT | VACANT TB Unit BROOKS > j. 351208.
i TB Unit | ANGULA-
VACANT. ACANT | satazan 295078
SAMUELS | 136716 | | TCUnit | ARRINGTON | 188575 __
BUTLER | 246650 = | =| TC Unit =| HARMON 430376 |
DOWTIN-EL | 144736 =; TD Unit. | ANDERSON _| 827896 _
ARCHER 528415 | | TDUnit | FOLLOWELL 447762
LUNDY | 193051 | TE Unit | DAVIS =| 790614
AUSTIN. "| 218161 __ TE Unit | LANE 1403113:
_ | REYNOLDS | 399207 | ~j TEUnit | GLOVER —} 405155
| SHELTON | 588130 | TFUnit | BRENDEL | 687237

Date: Wednesday, March 25, 2020

Staff Attendance: Warden Nagy, A/Deputy Warden Rurka, Assistant Deputy Warden
Kisor, Assistant Deputy Warden White, Facility Manager Schubring, Warden’s Forum
Coordinator Royalty

Warden’s Announcements:

1. Movies
During our current facility status, movies selected and purchased by the Warden’s
Forum will play on a rotating basis of 3-5 movies a day, depending on the available
supply. These movies will be changed on each shift.

New Business:

1. With programs shut down temporarily, how will the parole board process be affected?
What will happen with prisoner who are up to see the parole board, but are unable to finish
their programming?
Programs have resumed, but they may be in different locations to accommodate socia!
distancing.

2. Why are units being called two at a time for chow?
We are slowing chow lines down in order to accomplish social distancing and ensure the
safety of prisoners and staff during these unusual times.
Case,g.2 -C 54064 ¢-JIGG-PTM ECF No. 1, PagelD.60 Filed 03/21/23 Page 60 of 84

en Forum Agen
March 2020

3. Can handicap prisoners be called first for med lines and chow?
We are looking at all different ways to make this run smooth for all and will be
reevaluating it to ensure we are doing the best for all regarding chow and med lines.
This ts an option we will look at as well.

4. Can prisoners be allowed to take fruit and dessert out of the chow hall while the facility is
under the current facility status? This is in an effort to shorten the amount of time prisoners
are eating in the chow hall and to move units through the chow hall quicker.

No, we will not change what is allowed to be taken out of the chow hall.

5. Will prisoners be tested for Covid-19?
Healthcare staff will meet with prisoners who have presented with symptoms of COVID-
19. The MDOC cannot make the diagnosis of the COVID-19, however, the department is
following the Michigan Department of Health and Human Services protocol. If a prisoner
has symptoms and meets the criteria for testing, the MDOC will seek permission from
the local health department in the county the prison is in to conducta test utilizing a
test kit. A limited number of test kits have been distributed to all MDOC facilities but can
only be used with the permission of local community health officials.

6. Can level IV TL/LOP prisoners utilize the hearing-impaired phones from 1230-1330 while
under the facility status?
No, those phones are designated for hearing impaired prisoners.

7. Can larger toothbrushes be ordered for the facility status? The current toothbrushes do not
Prevent a person’s hand from touching their mouth while brushing their teeth.
No, we will continue ordering the approved toothbrushes as the bigger ones posea
security issue to the facility. Everyone should be washing their hands and continuing
with proper hygiene.

8. Are vendors going to be allowed in the facility to service microwaves and pop machines in
the units?
Yes, as of today, March 24, 2020, but make a note that vendors have reported that they
are running into difficulties with their suppliers due to parts coming from foreign
countries. Eight microwaves have been ordered to replace microwaves that are
currently broken. The facility also plans on buying additional! microwaves to have on
stand-by.

09. Is the facility going to provide non-alcoholic hand-sanitizer?
No, non-alcoholic hand-sanitizer is not recommended by the CDC. Wash your hands
often with soap and water.

10. Can the housing units get soap dispensers or be provided with more soap?
No, soap dispensers will not be installed, and we have plenty of hand soap for the
housing units. More soap was just ordered to ensure we have supply.

Nw

Case¢.2 “Cy 1064 (- JOCG-PTM ECF No. 1, PagelD.61 Filed 03/21/23 Page 61 of 84
arden Forum a
March 2020

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gen

While under facility status, can a work detail yard be added?
We can look into a detail yard, but it may not be feasible at this time.

What is the new schedule/procedure for Law Library under facility status?
The Librarian is coming up with the schedule. Everyone will get their required hours per
policy, but we may be tweaking it as we go to ensure we are getting everyone who
needs it in.

Can prisoners be provided clarity on the use of bleach?
Directions on use of bleach have been sent to the population as well as staff. Each unit is
supplied with four bottles.

Can JPAY provide extra games while under facility status?
No, they are currently offering 2 free stamps.

Do the two free phone calls count against the five phone calls per week?
No, the two free phone calls are in addition to the regular calls.

Can a power washer be brought in to clean the bathrooms/showers?
No, it tears up the tile and grout. Staff should ensure that unit porters are properly
cleaning the showers.

Can unit doors be propped open while bleach is being used?
No, safety and security must be maintained. The bleach bottles should be properly
diluted.

What is the procedure to ensure prisoners get access to water during mass mobilizations?
We will address properly as situations come up due to each situation with mobilizations
and mass mobilizations being different

What is the status of the weight equipment in maintenance?
Maintenance it is taking the weight equipment into the facility today (March 24, 2020).
Maintenance will install the equipment once the equipment is assembled.

Can there be designated days that funds are to be processed for property disbursements?
No, with the state of emergency, regional staff working from home, and uncertainty of
future protocol, we cannot make this guarantee.

Old Business: None.

Gd
Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.62 Filed 03/21/23 Page 62 of 84
Warden Forum Agenda

March 2020

en Discussion:

—> The current ventilation units have passed previous inspection. A/Deputy Warden
Rurka will follow up with maintenance to evaluate if any follow up is needed.

2. Cam a tint be placed on the housing unit windows?
No, this would be in violation of PREA and safety and security.

3. The population has concerns over the water pressure of the sinks in the units.
If you believe your unit sinks have low water pressure, please report this to your
ARUS/PC so that a work order can be placed.

4. Will video visitation be put in place?
There are no plans, or resources available, to implement video visitation at this
facility.

5. Can contagious diseases be spread by sharing soap bars?

Bars of soap should not be shared from prisoner to prisoner. Bars of soap that are
ieft out on the sinks should be discarded immediately.

Upcoming Movies: To Be Determined.

Submitted By:

PLL by or los|ao
N. Nagy, Warden US ‘Date {

G. Rebert Cotton Correctional Facility

“Warden Forum Agenda Minutes and facility generated memos signed by the Warden or
designee shall be posted and reviewed by staff. These documents may reflect pertinent
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Warden Forum Agenda

March 2020

Cc: J. Bush, A/Assistant Deputy Director, CFA Southern Region
N. Nagy, Warden
K. Napier, Administrative Assistant
R. Rurka. A/Deputy Warden
T. Kisor, Assistant Deputy Warden
J. White, Assistant Deputy Warden
T. Schubring, Facility Manager
RUMs / ARUSs / PCs (posted on unit bulletin boards)
L. Royalty Warden’s Forum Coordinator
A. Coffelt, Food Service Director
Department Heads
Warden’s Forum Representatives
Library
Control Center
JCF LAN email
File

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G. ROBERT COTTON CORRECTIONAL FACILITY

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WARDEN’S FORUM MEETING

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~AUnit ' Haugen 651225. JUnit. == VACANT ~=—s VACANT.
A Unit. | White [228524 | K Unit CLOSED

BUnit, VACANT ~~ VACANT © K Unit CLOSED —

BUnit Chahine = === 834769 = TA Unit — 959868.
C Unit . Lundy _ 193051 | TAUnit Soto 653244
-CUnit Cruz = ss 253085 = TB Unit Williams 867884
DUnit_ DELAYED ‘DELAYED = TBUnit_ Thompson _ 181739
DUnit DELAYED  —_—s_, DELAYED. —ss TC Unit Porter 188151
E Unit Robinson _ ; 404988 = «TC Unit Stauter  —»--6 54958

E Unit _ a _: 471671 | TO Unit Williams 249041
F Unit S.. . _ . 199404 | TD Unit ~Doty = 545233

F Unit ' 193035 | TEUnit Bishop =—-—-6 19748
GUnit Loyd 234363, = TE Unit Shively =|: 167606 |
GUnit Griffin . 691819 _ TF Unit VACANT = VACANT
H Unit. Reynolds _ + 399207 _ TF Unit VACANT — VACANT
H Unit VACANT .. _ . VACANT

Dates: September 16, 2022, and September 30, 2022.

September 16, 2022, Staff Attendance: Deputy Warden Kisor Facility Manager

Schubring, Administrative Assistant Napier, Warden's General Office Assistant
Gordon.
(“17 Forum Representatives in attendance) Forum agenda meeting with housing

unit representatives. C OTTO Ni [ AAN | B R A R Y

September 30, 2022, Staff Attendance: Warden Nagy, Deputy Warden Jarrett,
Facility Manager Schubring, RUM Losinski, and Administrative Assistant Napier.

(*18 Forum Representatives in attendance).

New Business:
On behalf of the JCF prison population, the Warden's Forum would like to bring forth
the following concerns:

1. JCF Population would like to know why the video visits have been malfunctioning
as far as video and audio. Unit officers are notified and then they call the control
center and often times the video visit will be terminated if the problem doesn't get
fixed and the inmate is charged a visit and family members are charged a fee for
the video visit. What else can GTL do to fix this ongoing issue with the video visits?

Response: GTL is working on the software issues. Visitors were reimbursed
and the visit was credited back to the prisoner. Visitors can test their device after
login to make sure the device is able to function properly for conducting a video
visit.
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Warden Forum Meeting
September 30, 2022

2. JCF Population is hearing that JCF staff are discarding inmate's R-10 Koss
headphones upon them being returned to facility after being repaired. The R-10
Koss headphones have a lifetime warranty and inmates who still have them is still
entitled to that warranty. When an inmate send out their R-10's they have to fill
out a property disposition form and they have to fill out a disbursement for shipping
to Koss Corporation in Milwaukee, Wisconsin and when the repaired R-10's are
returned to the facility there is a shipping invoice and tracking number and post
mark from Milwaukee attached. JCF Staff should be checking for that info and
verifying that the inmate's property is returning from the vendor since it is obvious
that Koss Corporation is not located in Michigan. What is JCF’s current position
on inmates sending out R-10 Koss Headphones and receiving them back after
being repaired?

Response: This matter is under revi OTTO N L AW L
3. Can the asphalt by temp foods be repaired? BRA RY

Response: This is a part of the overall facility grounds project that is projected to
start in 2023.

4. Can we get bids and replace temp sides track and yard entrance areas as well as
level 2's?

Response: Due to pricing, this was previously rejected by the PBF.
5. Moving state pay or store days so that people don’t miss store.

Response: This cannot be addressed at the facility level. Dates are set within the
statewide contract.

6. Adding jobs at MSI and Adding PAWS program for level 1.

Response: We are still cohorting by level. Therefore, we are not adding jobs for
level | in MSi at this time. The request for the Leader Dog Program in level | is
under review.

7. Mixing trash carts and workers to transport food to TF units, can it be addressed
that there (sic) things need to be separate. Additionally, workers and staff are still
not properly wearing beard guards and hair nets. This presents a health issue. Can
this be addressed.

Response: This matter was immediately addressed and corrected with the Food
service staff. Carts should be cleaned between uses.

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Warden Forum Meeting
September 30, 2022

OLD Business

a In March of 2022 and at the request of the Office of Legislative
rrections Ombudsman, the Southern Regional Sanitarian completed a

ventilation/air flow inspection in Level II housing. Specifically, a velometer in a grid
measurement system was used to measure the flow of air in each air vent,
community fan and exhaust vent in the unit. The inspection determined that the
facility is operating above the standard for Adult Correctional Institutions. In

addition and prisoners can use a personal
enn ee er ow. Sarre,

2. Follow up on level 2 shower lights that need immediate replacement. The lights
are rusted to the point that pieces are actually falling on us while showering. This
is a health and safety issue.

TTY

Response: June 27, 2022 work order was submitted by PC Crane for E unit
showers. A work order was resubmitted on September 22, 2022. Maintenance
has replaced all the shower lights in E unit.

3. Follow up that level 2 has requested COT base in units. It.is extremely hot

on base. ON | ANA [ IBRARY

Response: The fans are not needed.

Warden has approved the following movies: JPAY Sent on 9/22/2022 to Population

Top Gun: Maverick PG 13

Agent Game R

Fantastic Beasts: Secrets of Dumbledore PG13
Downton Abbey: New Era PG

Doctor Strange: in the Multiverse of Madness PG13
Sonic the Hedge Hog 2 PG

Belfast PG13

Fortress: Snipers Eye R

. Black Widow PG13

10. Respect PG13

11.Dating & New York PG13

12. Dangerous R

13.In the Heights PG13

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Warden Forum Meeting
September 30, 2022

14. Morbius PG13
15. Uncharted PG13
16.The Way Back R

Submitted By:
LUG G/ jo JA | yore
N. Nagy, Warden Date

G. Robert Cotton Correctional Facility

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directive from the Warden and staff shall implement change accordingly. All facility process or
procedure changes will be reflected in the next revision of the document originally addressing the
issue. (IE JCF OP, facility rule).”

Ce: S. Brewer, Assistant Deputy Director CFA
N. Nagy. Warden
J. Jarrett, Deputy Warden
J. White, Assistant Deputy Warden
T. Kisor, Assistant Deputy Warden
T. Schubring, Facility Manager
K Napier, Administrative AssistantWarden's Forum Coordinator
RUMs / ARUSs / PC (posted on unit bulletin boards)
A. Coffeit, Food Service Director
Warden's Forum Representatives
Library
Control Center
JCF LAN email
File

COTTON LAW LIBRARY

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G. ROBERT COTTON CORRECTIONAL FACILITY

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WARDEN’S FORUM MEETING

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LAUnit__ Hil 341515 | | JUnit | VACANT _ VACANT.
"A Unit, Haugen 651225 | | JUnit VACANT VACANT
'B Unit | VACANT _ VACANT | | KUnit_ CLOSED | CLOSED |
B Unit | Chahine 534769 |“ K Unit CLOSED | CLOSED |
"C Unit | Lundy ~493051 TA Unit_ Beach 950868
;CUnit (Cruz 253055. | TAUnit__ Soto 653244
| O Unit | DELAYED DELAYED TB Unit Williams "(867884
_D Unit; DELAYED DELAYED | TB Unit Thompson | 181730
-E Unit “(Robinson = 404988 = TC Unit Brooks 351208
.EUnit | King == 171671 |S TC Unit Stauter 654958
“F Unit |Woods 139404" TD Unit” Williams” "249041
F Unit Northington 193035 Doty 545233.
GUnit | Loyd | 234363 == | TE Unit. Bishop =| 619748
G Unit_; Griffin (691819 “TE Unit Shively : 167606
H Unit | Reynolds 399207 fr “TF Unit. VACANT VACANT
“HUnit | Bieri (288320. “TF Unit. VACANT | VACANT

Dates: August 12, 2022, August 26, 2022 and August 30, 2022.
August 12, 2022, Staff Attendance: Facility Manager Schubring, Administrative

Assistant Napier, Warden's General Office Assistant Gordon and Deputy
Warden's Secretary Bess.

(*20 Forum Representatives in attendance) Forum agenda meeting with housing
unit representatives.

August _26, 2022, Staff Attendance: Facility Manager Schubring and

Administrative Assistant Napier.
(*20 Forum Representatives in attendance).

August 30, 2022, Staff Attendance: Warden Nagy, Assistant Deputy Warden
White, Assistant Deputy Warden Kisor, Facility Manager Schubring, RUM Losinski,
RUM Ulich, RUM Yuki and Administrative Assistant Napier.

(*1 7 Forum Representatives in attendance).

New Business:

On behalf of the JCF prison population, the Warden's Forum would like to bring forth
the following concems:

p02. Focum. addressed this issue with the previous Warden. Because of
‘the severity ‘of-the. motley ‘the Present Warden's Forum would like the current
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Warden Forum Meeting
August 30, 2022

ndards of 10.cubic feet of airflow per minute, per occupant.
8: per-calie/rooms’ do“not-have any. ventilation ducts and
Rin eing met. JCF prisoners suffer heat related illness,
monary disease (COPD); )iFagthma,. chronic bronchitis,
re"experiencing serious: adversities from their conditions of
wifi itterent variants. of COVID. plaguing the system, and how

} ‘hie spread within:the MDOC, this should be corrected and taken serious.

Responses This concern was previously addressed by the current Warden in
‘the September 2020 Warden's Forum Meetings. The ventilation system was
inspected by the Regional Sanitarian and found that our systems in the new

buildings are operating within design parameters. Recirculated filters and nd fresh

air are provided. Filters are routinely changed, and openable windows are
available. in addition, Maintenance staff continuously check the operations of the
HVAC units and return air on a regular basis. The air intake screens are cleaned
on an annual basis. We have installed MERV 13 filters in the housing units and
they are changed monthly.

2. GTL, through the department, implemented phone calls every 15 minutes.
Attorney cails, that are entered into and recognized as such in the as such in the
system, should not have the same restrictions. If a prisoner is talking to his
attorney and they ask that the prisoner to call back, he can not under the current
programming of the system, It violates state and federal law to frustrate or
impeded access to legal counsel.

Response: Pursuant to PD 05.03.130 Prisoner Telephone Use, telephone
equipment shall automatically limit each call to 15 minutes, for attorneys 20
minutes. Therefore, calls to attorney's do not have the same restriction. Since
COVID 19, Attorney's that wish to speak to their clients have been able to schedule
a call through my office and schedule a face to face in-person visit.

3. The property room officer here at JCF is constantly getting pulled from his
assignment and being placed elsewhere and not being able to process
disbursements or pass out orders. Can Administration provide this officer with
some assistance getting caught up without pulling him off his assignment and
getting further behind?

Response: This concern is being addressed.
4. Can yard crew be assigned to clean up all the bird fecies from the big yards
basketball court, softball field, tennis court and yard because it is preventing
inmates from working out, playing sports, etc.?
Response: We are looking into this concern with Custody and Maintenance staff.

5. Manilla Envelopes are on long term delay for over 6 weeks. We need an alternative
vendor.

Response: We are looking into this concern. As soon as we receive a response
will be able to provide an update.

6. Fixed Pop Machine- Rid of AVI. Move machine from TF to TA.

Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.70 Filed 03/21/23 Page 70 of 84

Warden Forum Meeting COTTON LAW LIBRARY

August 30, 2022

Response: We will not be moving the machine from TF to TA at this time as there
are prisoners in TF unit that utilize the machine. AVI has been contacted about
coming out to fix the machine in TA.

Updated Catalogs:

Response: Updated catalogs were sent to all staff. Please speak to your
RUM/ARUS/PC.

OLD Business

. With the video visit phone being in operation in the housing units, population would

like for one more regular phone to be added to each unit on base. This was a
previous request and we are seeking approval from the Warden.

Response: We would need to have a site survey completed. We do not know if
there is enough physical space to add another phone.

What's the update on the Warden’s communication with Lansing regarding getting
visiting hours extended as well as getting more in-person visiting days through
custody level cohorting?

Response: Warden will review schedules for cohorting by level for possible back-
to-back visits. Nothing is approved at this time.

GTL still hasn’t made the adjustment to the video visit phone's camera so that guys
in wheelchairs, really tall guys or really short guys can all be seen by their visitors
on the monitor without having to move around to be inline with the camera's current
position.

Response: GTL has addressed this with the installation team.

Open Discussion:

1.

Members- JPAY E & F knocks you off when you sign on. This is occurring in other
units.

Response: We are looking into this concern.

Two sports channels 16 and 18 (ESPN and Bally Sports) not working.
Response: Buford Satellite came out but could not restore channel 18 so they
ordered a new receiver. Channel 16 was checked today, and it is working.
Medline in A unit going last on second shift.

Response: Medline was running in the same order every day. The Medline is now
running in a rotation with the housing unit mealtime.

Law Library shutting down. Yesterday (Monday).

Response: The library is closed on Monday's.

The yard/weight pit is not opening on time during second shift.

Response: Shift Command was contacted and there have not been any concerms
brought to their attention. They have not had any instances of the yard not opening
on time.
Case 2:23-cv-10647-JJCG-PTM ECF No. 1, PagelD.71 Filed 03/21/23 Page 71 of 84

Warden Forum Meeting
August 30, 2022

Warden has approved the following movies: JPAY Sent on 8/26/2022 to Population

Don’t Breathe 2 R

Those who wish me Dead R
Resident Evil: Welcome to Raccoon City R
Blue Bayou R

Matrix Resurrections R

Twist R

The Devil You Know R

The Requin R

Being the Ricardos R

10. Chaos Walking R

11. Cosmic Sin R

12. Crawt R

13. King Richard PG13

14. Space Jam: A New Legacy PG
15. Twist R

16. The Batman PG13

17. Marry Me PG13

18. Licorice Pizza R

19. The Humans R

20. The Lost City PG13

OCONBDAARWN =

Submitted By:

Zt

N. Nagy, Warden
G. Robert Cotton Cofrectional Facility

“Warden Forum Agenda Minutes and facility generated memos signed by the Warden or designee
shall be posted and reviewed by staff. These documents may reflect pertinent information that
directly affects the facilities current process or procedure. This information shall be considered a
directive from the Warden and staff shall implement change accordingly. All facility process or

procedure changes will be reflected in the next revision of the document originally addressing the
issue. (IE JCF OP, facility rule).”

Ce: S. Brewer, Assistant Deputy Director CFA
N. Nagy, Warden
J. Jarrett, Deputy Warden
J. White, Assistant Deputy Warden
T. Kisor, Assistant Deputy Warden
T. Schubring, Facility Manager
K. Napier, Administrative Assistant/Warden's Forum Coordinator
RUMs / ARUSs / PC (posted on unit bulletin boards)
A. Coffett, Food Service Director
Warden's Forum Representatives
Library
Contro! Center
JCF LAN email
File

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MICHIGAN DEPARTMENT OF CORRECTIONS EFFECTIVE DATE NUMBER

POLICY DIRECTIVE 01/11/2021 01.04.110

SUBJECT SUPERSEDES
ADMINISTRATIVE RULES, POLICIES AND PROCEDURES 01.04.1140 (08/10/2020)
AUTHORITY
MCL 791.203, 1969 PA 306, MCL 24.201 et
seq.
PAGE 1 oF 4

POLICY STATEMENT:

The Department's administrative rules, policy directives (PDs), Director's Office Memoranda (DOMs), operating
procedures (OPs), and variances shall be prepared and issued as set forth in this policy directive.

POLICY:

GENERAL INFORMATION

A.

and administrative rule all be readil available to all emplo ees. naires ae

Paifure 10 10 OW policy may also result

All employees shall be informed of Department policy directives, operating procedures, DOMs, and administrative
rules issued by the Department. All current Department policy directives, operating procedures, variances, | DOMs,

y Separtment of Attorney
General or not being indemnified by the Department if a monetary judgment is obtained against the employee as
set forth in PD 02.01.102 "Litigation - Department and Employee Responsibilities.”

The decision on whether a policy directive, operating procedure, or DOM is exempt shail be made by the Director
or designee. If a policy directive, operating procedure, or DOM is marked exempt. it shall not be disclosed in
response to a Freedom of Information Act (FOIA) request. Authorization from the Office of Legal Affairs (OLA)
Administrator must be obtained before any exempt policy directive, operating procedure, or DOM is released
outside of the Department.

The Procurement Monitoring and Compliance Division (PMCD) Administrator, in consultation with OLA
Administrator, may allow exempt policy directives, operating procedures, and/or DOMs to be reviewed by
contractors and vendors who are bidding on contracts. Review of exempt policy directives, operating procedures,
and/or DOMs by contractors or vendors shall only take place during an on-site visit to an MDOC location, and the
exempt policy, operating procedure, and/or DOM shail not be released to the contractor or vendor.

ADMINISTRATIVE RULES

D.

An administrative rule is promulgated under the Administrative Procedures Act (APA), 1969 PA 306, MCL 24.201
et seq. and has the full force of law. Some policy directives and DOMs are based on an administrative rule(s).
The Policy Section in OLA, Budget and Operations Administration (BOA), is responsible for the promulgation of
the Department's administrative rules and maintaining all relevant documents relating to the promulgation process.
Recommendations for changes to administrative rules shall be approved by the appropriate Executive Policy
Team (EPT) member and forwarded in writing through the chain of command to the OLA Administrator.

POLICY DIRECTIVES, MANUALS, AND DOMS

E.

Policy directives and DOMs are documents that set forth the Department's position on a given subject and are
signed by the Director. Each policy directive and DOM derives authority from statute, administrative rule, or court
order, and must be consistent with applicable statutes and administrative rules. A policy directive or a DOM may
be necessary to clarify or implement an administrative rule. The Director's approval is also required for any
revisions to the Transportation, Absconder Recovery Unit (ARU), Emergency Response Team (ERT) and
Ordnance Manuals, as well as any other manual as determined by the Director. The Policy Section is responsible
for writing all policy directives and DOMs, and for retaining all original policy directives and DOMs issued by the
Director.

A DOM provides new information not contained in a current policy directive or revises an existing policy directive.

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A DOM is typically used when immediate changes are required to an existing policy directive and the entire policy
directive cannot be updated by the date the changes need to be implemented. All requests for a new or revised
DOM shall be approved by the appropriate EPT member and forwarded to the Policy Section. A DOM shall be in
effect only for the calendar year in which it is issued but may be renewed each January by the Director.

Development and Revision of Policy Directives

An EPT member or designee is responsible for informing the Policy Section of the need to prepare a new or
revised policy directive that affects their respective administration. The EPT member shall designate a contact
person knowledgeable of the subject matter to work with the Policy Section to develop or revise the policy
directive. The contact person, EPT member, and the OLA Administrator shall be responsible for approving the
content of draft policy directives prior to going out for review as identified in Paragraph H.

The Policy Section may send drafts of proposed new and revised policy directives to the EPT members,
Administrative Management Team members, and Wardens for review and comment, identifying the date by which
comments are due. Department administrators receiving draft policy directives for comment shall ensure that
appropriate staff in their respective areas have an opportunity to review the drafts and provide comment.
Department administrators shall review the comments received with their policy contact person and forward
comments that they approve of to the Policy Section by the date specified in the transmittal.

The Policy Section may send drafts of new or revised policy directives to additional individuals for review and
comment.

Comments received regarding a draft policy directive may be incorporated into the policy draft by the Policy
Section. The contact person for the policy directive shall be consulted on any substantive issues raised.

A Policy Review Committee may be established by the Policy Section Manager to review draft policy directives
before submission to the Director for signature. Revisions to the Transportation, ARU, and Ordnance Manuals, as
welt as any other manual as determined by the Director, may also be reviewed by the Policy Review Committee
prior to being sent to the Director for signature. The Committee shall be chaired by the Policy Section Manager or
designee and include the Deputy Directors, OLA Administrator, Administrator of the Offender Success
Administration, Policy Specialist, contact person identified for the policy directive, Performance Audit Specialist,
and any other members as designated by the Policy Section Manager or designee.

A policy directive may be issued without distribution for comment and/or without submission to the Policy Review
Committee, as determined by the OLA Administrator or designee. Regardless, in all cases, EPT members whose
administrations are directly affected by the policy directive shall be responsible for approving the content of the
final draft policy directive before it is submitted to the Director.

Policy directives shall be self-audited as set forth in PD 01.05.100 “Self-Audits and Performance Audits.” The
Policy Specialist, in consultation with the Performance Audit Specialist, shall develop a Primary Audit Elements
List for new or revised policy directives if necessary. The list shall be available to staff responsible for ensuring
compliance with the policy.

VARIANCES

N.

A variance is a temporary or permanent change to a specific policy or operating procedure requirement and may
be granted only by the Director. A request for a variance shall be submitted on a Request for Policy Variance
(CAJ-296) through the appropriate chain of command to the OLA Administrator or designee for submission to the
Director. In order to be processed by OLA, the form must contain justification for the variance and appropriate
administrative signatures. The Policy Section Manager shall ensure that all approved variances are entered into
the Document Access System (DAS) and shall be responsible for retaining all original signed copies. When a
policy directive or operating procedure has a permanent variance, the Policy Section shall incorporate the variance
into the policy or operating procedure the next time it is revised.

OPERATING PROCEDURES

O.

An operating procedure is a document that sets forth the specifics on how a policy directive is to be carried out.
The operating procedure details who, what, where, when, and how the goals of the policy directive are to be

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accomplished. An operating procedure shall not exist without a corresponding policy directive and derives
authority from a policy directive or a DOM.

An operating procedure shall not be issued as a substitute for an administrative rule, policy directive, or DOM. Ail
operating procedures shall be formatted consistently with requirements set forth by the OLA Administrator and
have an identifying number assigned based on the policy from which it derives its authority.

Each Administration is responsible for preparing its own operating procedures. Whenever an operating procedure
crosses administration lines, content approval is required from affected EPT members or designees. Authors of
operating procedures are encouraged to solicit input from employees and organizations affected by the procedure
for consideration of appropriate revisions.

Wardens and other administrators may issue local operating procedures that only affect their respective areas.
Local operating procedures issued by a Warden or other administrator shall not conflict with any existing policy
directive and/or statewide operating procedure. All statewide operating procedures shall be approved by the
appropriate EPT member and the Director.

Each Warden and other administrator authorized to issue local operating procedures shall ensure that the original
of each local operating procedure is retained. OLA staff shall be responsible for retaining all statewide operating
procedures.

DISTRIBUTION

T.

OLA staff shall be responsible for maintaining the Document Access System (DAS), or any successor system, by
which employees may electronically access various Department documents, including the Department's
administrative rules, policy directives, DOMs, variances, and statewide operating procedures. Only staff trained in
DAS entry shall enter documents into DAS.

The Manager of the Policy Section shail ensure that all new or revised Department administrative rules, policy
directives, DOMs, variances, and operating procedures issued by the Director are promptly entered onto DAS.

The Manager of the Policy Section also shall ensure that notice of each new or revised rule, policy directive, DOM,
or operating procedure issued by the Director is sent to all Department employees with Department e-mail. All
Department employees are responsible for reviewing updated administrative rules, policy directives, operating
procedures, and DOMs. Wardens and other administrators shall confirm that their employees have reviewed all
new and revised administrative rules, policy directives, variances, DOMs, and operating procedures by having
them complete the read and sign in Attachment A. Notice also shall be sent to appropriate collective bargaining
units, and, for non-exempt policy directives and operating procedures, to courts and other governmental agencies
requesting notification.

Each Warden and other administrators authorized to issue local operating procedures shall ensure that all
operating procedures they issue are distributed either through DAS or through other appropriate means (e.g.,
printed copy) in a timely manner to all staff affected by the procedure.

RESCISSION

W.

Only the Director may rescind a DOM, policy directive, or statewide operating procedure. The notice of rescission
for these items shall be prepared by the Policy Specialist. The Policy Section Manager shail ensure DAS is
updated whenever a DOM, policy directive, or other statewide operating procedure is rescinded.

If a Warden or other administrator rescinds an operating procedure issued locally for their facility or administration,
they shall ensure DAS is updated, as appropriate, by staff trained in DAS entry.

POLICY REVIEW

Y.

Administrators shall review all policy directives that affect their area at least every three years. The administrator
shall forward substantial revisions to the appropriate EPT member for approval. When an EPT member becomes
aware that a policy directive that affects their area is in need of substantial revisions, a request to revise the policy
directive shall be submitted to the Policy Section as set forth in Paragraph G.

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OPERATING PROCEDURES

Z. If necessary, to implement requirements set forth in this policy, Department heads shall ensure procedures are
developed or updated.

AUDIT ELEMENTS

AA. A Primary Audit Elements List has been developed and is available on the Department's Document Access
System to assist with self-audit of this policy pursuant to PD 01.05.100 “Self-Audits and Performance Audits.”

ATTACHMENTS

Attachment A - Read and Sign

APPROVED: HEW 11/21/2020

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MICHIGAN DEPARTMENT OF CORRECTIONS EFFECTIVE DATE NUMBER

POLICY DIRECTIVE 10/01/2019 03.03.130

SUBJECT

SUPERSEDES

HUMANE TREATMENT AND LIVING CONDITIONS FOR PRISONERS 03.03.130 (02/23/2009)
AUTHORITY
MCL 791.203
PAGE 1 oF 3

POLICY STATEMENT:

Alt prisoners committed to the jurisdiction of the Department shall be treated humanely and with dignity in
matters of health care, personal safety, and general living conditions. They also shall not be discriminated
against based on race, religion, ethnic background, sex, sexual orientation, gender identity, national origin, or
disability. Youths adjudicated as delinquent offenders or charged with offenses that would not be crimes if

committed by adults are not under the jurisdiction of the Department and therefore are not housed in Department
facilities.

RELATED POLICY:
03.03.140 Prison Rape Elimination Act (PREA) and Prohibited Sexual Conduct Involving Prisoners
POLICY:

GENERAL INFORMATION

A. Each prisoner shall be assigned to a housing unit upon arrival at a correctional facility. Housing unit
staff shall be available to provide advice and assistance to prisoners in their respective housing units.
They also shall ensure prisoners are referred to other staff as necessary to provide any required
counseling services, in accordance with Department policy.

LIVING CONDITIONS

B. Prisoners shall be provided with the following:
1. Clean and orderly surroundings.
2. A sufficient number of toilets, washbasins, and showers to meet the needs of the prisoner

population and is consistent with Department of Licensing and Regulatory Affairs (LARA).
Urinals may be substituted for up to half the toilets in male facilities.

3. Laundry and other facilities for personal hygiene.
4. Lighting EM eating, and oie:
5. Non-housing areas maintained in a healthy and safe manner.
C. Prisoners shall be encouraged to maintain a "weil groomed" appearance. Prisoners shall be provided or
permitted to purchase personal hygiene items, including soap, toothbrushes,

toothpaste/toothbrushes/shaving necessities, shampoo, toilet paper, suitable comb/pick/hairbrush,
deodorant, and, for female prisoners, sanitary napkins. Showers shall be offered in general population
as often as possible. Showers shail be offered in segregation in accordance with PD 04.05.120
"Segregation Standards.”

D. Prisoners shall be permitted to maintain head and facial hair in accordance with their personal beliefs
provided that reasonable hygiene is maintained. Haircare services shall be offered at each facility in
accordance with applicable sanitation and health requirements.

E. All prisoners shall be provided wholesome and nutritionally adequate meals prepared and served as set
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forth in PD 04.07.100 "Offender Meals and Food Quality Assurance.” Prisoners shall be permitted to eat
in group dining facilities, unless they are restricted for security, medical, or behavior reasons. During
meal periods, prisoners shall be permitted to talk using normal conversational tones.

F. Alt general population prisoners shall be afforded the opportunity for at least two hours per day indoor or
outdoor recreation (i.e., yard), unless restricted for medical or security reasons, including due to
potentially dangerous weather conditions (e.g., lightning; low wind chill factor). Decisions to restrict
activities due to extreme weather conditions or other urgent circumstances shall be made by the
Administrative Duty Officer with notification to the Assistant Deputy Director (ADD). Segregation
prisoners shall be permitted out-of-cell movement as set forth in PD 04.05.120 "Segregation Standards.”

HEALTHCARE

G. Healthcare, including psychological services, shall be available to prisoners consistent with
contemporary standards of medical practice in the community, as set forth in PD 03.04.100 “Health
Services.” Healthcare shall be available, accessible, and organized for delivery in a humane,
cost-effective, and efficient manner.

H. All seriously ill or injured prisoners shall receive prompt medical attention as set forth in PD 03.04.125
"Medical Emergencies.” Appropriate staff shall be informed of any special needs of prisoners due to
physical or mental problems.

PROTECTION FROM MENTAL OR PHYSICAL ABUSE

I. To prevent abuse of prisoners, the following safeguards shall apply:

1. Facility staff shall identify prisoners who are assaultive or predatory. Such prisoners shall be
placed at the level of security necessary to control such behavior.

2. The cell or room assignment of prisoners shall be regulated to prevent manipulation by other
prisoners. Cell or room changes should be made only on the basis of program need, facility
security, or for good order of the housing unit, as determined by housing staff. A prisoner shall
be placed in a single occupancy cell when necessary to ensure the safety of the prisoner or

others.

3. Prisoners shall be provided reasonable safety from assaults. This shall include adequate staff
supervision, as set forth in institutional staffing charts, and the strict control of tools and
weapons.

4. No prisoner or group of prisoners shall be given control or authority over other prisoners.

5. Activity against a prisoner that may constitute a felony shall be reported to appropriate law

enforcement authorities. In addition, prisoners shall be subject to the Department disciplinary
process in accordance with PD 03.03.105 "Prisoner Discipline.”

6. Staff shall not use or engage in, and shall discourage through appropriate means any person's
use of, derogatory, demeaning, humiliating, or degrading actions or language toward others. It
is a violation of Department work rules for staff to engage in sexual harassment or sexual
misconduct with a prisoner, as defined in the Employee Handbook. Staff also are prohibited
from retaliating against a prisoner who refuses to participate in prohibited staff conduct or who
files a complaint or cooperates in an investigation of prohibited staff conduct. Staff engaging in
sexual harassment, sexual misconduct, or other prohibited conduct shall be subject to discipline
in accordance with PD 02.03.100 "Employee Discipline" and in accordance with PD 03.03.140
"Prison Rape Elimination Act (PREA) and Prohibited Sexual Conduct Involving Prisoners" as
appropriate.

J. Prisoners shall not be subjected to personal abuse from staff. Staff shall act objectively and with
restraint when in conflict with a prisoner or under threat of personal danger. Facility authorities shall be
alert to identify staff members unable to properly respond to these pressures to ensure corrective action.

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Allegations of use of force in violation of PD 04.05.110 "Use of Force" shall be investigated and
appropriate action taken in accordance with PD 02.03.100 "Employee Discipline."

K. Staff have a responsibility to protect the lives of both employees and prisoners, provide for the security
of the State's property, prevent escape, and maintain good order and discipline. Thus, they are
sometimes required to act under circumstances where the use of physical restraint or force is required.
The following are prohibited:

1. Corporal punishment.

2. Deprivation of clothing, light, ventilation, heat, balanced diet, or hygienic necessities, or
subjection to excessive noise, except as set forth in PD 04.05.120 "Segregation Standards" and
PD 04.06.115 “Suicidal and Self-Injurious Behavior.”

3. Any act or lack of care, whether by willful act or neglect, that injures or significantly impairs the
health of any prisoner.

4. Willful infliction of mental distress, degradation, or humiliation.
5. Willful damage to prisoner property.
L. Discrimination based on personal prejudices as to race, religion, color, national origin, age, sex, sexual

orientation, gender identity, height, weight, marital status, or disability is prohibited. This includes sexual
harassment. This also includes discrimination in the form of paternalism or expecting less than full
responsibility from members of minority, ethnic, or racial groups, or from either sex.

M. Prohibited forms of discrimination shall not serve as the basis for prisoner programming, including work
and school assignments, or other administrative decisions.

N. The Administrator of the Training Division shall ensure training is available to all staff in the areas of race
relations, the understanding of cultural differences, and sexual equality.

PROCEDURES
O. Operating procedures are not required for this policy directive.

AUDIT ELEMENTS

P. A Primary Audit Elements List has been developed and is available on the Department's Document
Access System (DAS) to assist with self-audit of this policy pursuant to PD 01.05.100 "Self-Audits and
Performance Audits.”

APPROVED: HEW 09/30/2019

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MICHIGAN DEPARTMENT OF CORRECTIONS EFFECTIVE DATE NUMBER
POLICY DIRECTIVE egg PN
SUBJECT SUPERSEDES
MEDICAL DETAILS AND SPECIAL ACCOMMODATION NOTICES 04.06.160 (06/17/2019)

AUTHORITY
MCL 791.203; 791.204

\’ Exhilrt + | a " PAGE 1 of 3

POLICY STATEMENT:
Prisoners in Michigan Department of Corrections (MDOC) facilities shall be provided with devices, supplies, and
other services necessary for medical needs, subject to restrictions necessary to maintain the safety, security, and
good order of the facility.

RELATED POLICIES:

03.03.140 Prison Rape Elimination Act (PREA) and Prohibited Sexual Conduct Involving Prisoners
03.04.100 Health Services

04.06.165 Optometric Services

04.07.112 Prisoner Personal Property

05.01.140 Prisoner Placement and Transfer

STATEWIDE OPERATING PROCEDURE:

04.06.160 Medical Details and Special Accommodation Notices

POLICY:

DEFINITIONS

A. Medical. Provider: A qualified health professional who is a physician, physician assistant, or nurse

practitioner licensed to practice in the State of Michigan.

B. Qualified Health Professional (QHP): A Physician, Psychiatrist, Nurse Practitioner, Physician Assistant,
Psychologist, Social Worker, Licensed Professional Counselor, Dentist or Registered Nurse who is
licensed and registered/certified by the State of Michigan to practice within the scope of their training.

GENERAL INFORMATION

C. This policy does not apply to eyeglasses, solar shields, and contact lenses that are addressed in
PD 04.06.165 “Optometric Services.”

D. During each health care encounter, Bureau of Health Care Services (BHCS) staff shall screen the prisoner
to determine if the prisoner has a medical condition that restricts their ability to function adequately in a
facility environment. This includes screening during the health appraisal conducted at reception facilities
pursuant to PD 03.04.100 "Health Services.”

ISSUANCE OF MEDICAL DETAILS/SPECIAL ACCOMMODATION NOTICES

A ae an

p re : Options may inciude prosthetics, medical supplies, devices (e.g.,
wheelchairs, canes, hearing aids), medical treatment. or restrictions on activities, placement, or housing
Options also may include the issuance of non-wool blankets, extra blankets or sheets, specia! mattresses,
or special shoes. The recommended option(s) shall be set forth on a Medical Detail if expected to be
temporary (i.e., six months or less) or on a Special Accommodation Notice if expected to be long-term (i.e.
more than six months) or permanent.

F Each Medical Detail and Special Accommodation Notice issued shall include an expiration date except in

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POLICY DIRECTIVE 08/24/2020 04.06.160 pace 2 of 3

the case of a Special Accommodation Notice that is permanent, in which case that shall be indicated
instead. When a Medical Detail or Special Accommodation Notice expires, it shall be reissued only after a
QHP examines the prisoner and determines that the prisoner's special medical need still exists. Review of
the continued need for a Medical Detail or Special Accommodation Notice shall be conducted during the
annual health care screening performed pursuant to PD 03.04.100 “Health Services.”

G. The prisoner shall receive a copy of their Medical Detail or Special Accommodation Notice at the time of
issuance. A copy of each Medical Detail and Special Accommodation Notice issued shall be distributed
through institutional mail to the housing unit and Record Office for placement in the prisoner's files. A copy
also shall be distributed to the Control Center, Classification Director, and, as necessary, to the Property
Room.

H. BHCS staff shall immediately notify housing unit staff and the Control Center by telephone whenever a
Medical Detail or Special Accommodation Notice is issued that requires immediate attention. Telephone
notification shall be logged in the appropriate logbooks and noted in the prisoner's health record (PHR).

I. If a prisoner claims to have a currently valid Medical Detail or Special Accommodation Notice for which the
housing unit does not have a copy or has not received telephone notification of its existence, housing unit
staff shall contact appropriate BHCS staff for verification and to ensure that a copy is provided for
placement in the prisoner's counselor file.

J. Appropriate health information staff shall enter required information pertaining to the issuance of a Special
Accommodation Notice on the Department's computerized database and in the PHR as soon as possible
after issuance. The responsible health information manager shall review the information entered at least
quarterly to verify accurate and appropriate entry.

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CANCELLATION OF MEDICAL DETAILS/SPECIAL ACCOMMODATION NOTICES

K. A currently valid Medical Detail or Special Accommodation Notice shall not be canceled without approval
from an appropriate medical provider after examination of the prisoner. Whenever a Medical Detail or
Special Accommodation Notice is cancelled prior to its expiration date, Health Care staff shall distribute to
the appropriate prisoner and send staff-written notification of the cancellation in the same manner set forth
in Paragraph G. Appropriate health information staff shall ensure proper entries are made as set forth in
Paragraph J. A nurse may discontinue a medical detail ordered by another nurse only after evaluation
determines no medical necessity. A nurse may not discontinue a medical detail or special accommodation
notice ordered by a medical provider.

L. An employee who believes the options provided pursuant to a Medical Detail or Special Accommodation
Notice compromise facility safety or security shall report the concern through the chain of command to the
Warden. If the Warden believes facility safety or security is being compromised, the medical provider shall
seek alternative options to meet the medical need that does not compromise facility safety or security. If
alternative options are available, the medica! provider shall cancel the current Medical Detail or special
accommodation notice and issue a new one. If alternative options are not available, the medical provider
shall notify the Warden.

M. An employee who observes a prisoner acting inconsistently with a medical restriction or otherwise
questions the current medical need for a Medical Detail or Special Accommodation Notice shall report the
concern to a QHP. If, after examination of the prisoner, the medical provider believes there is no current
medica! need for the Medical Detail or Special Accommodation Notice, they shall cancel the Medical Detail
or Special Accommodation Notice.

N. If the concern raised pursuant to Paragraph L or M cannot be resolved by the Warden and medical
provider, it shall be referred through the appropriate chain of command unti it is resolved

TRANSFER OF PRISONERS WITH MEDICAL DETAILS/SPECIAL ACCOMMODATION NOTICES

O. A current Medical Detail or Special Accommodation Notice shall be valid at all facilities unless canceled in
accordance with Paragraphs K through N of this policy If a prisoner's medical detail or special
accommodation notice needs cannot be met at their current facility the prisoner shall be transferred to a

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facility where their special medical needs can be met unless otherwise approved by the CFA Deputy
Director. In accordance with PD 05.01.140 "Prisoner Placement and Transfer,” it shall be noted on a
prisoner's Transfer Order (CSJ-134) if the prisoner has any currently valid Medical Details or Special
Accommodation Notices. BHCS staff shall ensure the Transfer Assessment in the PHR is completed upon
transfer. {f the prisoner has a Medical Detail or Special Accommodation Notice for a medical device, the
medical device shall transfer with the prisoner and be recorded on the Prisoner Property Receipt
(CSJ-241A). If the Warden at the receiving facility has a security concern with the medical device, they
shall contact the Assistant Chief Medical Officer (ACMO) through the chain of command to see if an
alternate medical device can be issued to the prisoner. The prisoner shall be allowed to retain the medical
device until the ACMO makes a determination if an alternate medical device can be issued.

PURCHASE OF MEDICALLY NECESSARY ITEMS

P.

When a Medical Detail or Special Accommodation Notice requires the purchase of a prosthetic, medical
supplies, an assistive device, or other medically necessary items, the item shall be paid for by the
Department, except that the prisoner may choose to purchase the item as permitted pursuant to
PD 04.07.112 "Prisoner Personal Property" or receive the item as a donation from a source approved by
the appropriate Deputy Director or designee. Questions regarding the appropriateness of an item shall be
directed through the chain of command to the Warden or ACMO, as appropriate.

PROCEDURES

Q.

If necessary, to implement requirements set forth in this policy directive, the BHCS Administrator shall
ensure that a state-wide procedure is developed or updated.

AUDIT ELEMENTS

R.

A Primary Audit Elements List has been developed and is available on the Department's Document Access
System (DAS) to assist Wardens and Health Unit Managers with self-audit of this policy pursuant to
PD 01.05.100 “Self-Audits and Performance Audits.”

APPROVED: HEW 07/13/2020

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Scott Sedore *2I0GG/ ian No,
VS. Mag:
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Clerk oF the Coult, 3 Lie [2023

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